                       Case 1-19-41508-ess                  Doc        Filed 08/02/19       Entered 08/02/19 12:51:18
 Fill in this information to identify the case:
 Debtor 1    Limane Houanche

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of NEW YORK

 Case number 1-19-41508-ess


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: NATIONSTAR MORTGAGE LLC D/B/A MR.                           Court claim no. (if known): 1
COOPER

Last 4 digits of any number you use to
identify the debtor’s account: 5530

Does this notice supplement a prior notice of postpetition
fees, expenses, and charges?
■ No
□ Yes. Date of the last notice:

 Part 1:       Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
 account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount,
 indicate that approval in parentheses after the date the amount was incurred.

            Description                                                                             Date Incurred               Amount

 1          Late Charges                                                                                            (1)            $0.00

 2          Non-sufficient funds (NSF) fees                                                                         (2)            $0.00

 3          Attorney fees                                                                                           (3)            $0.00

 4          Filing fee and court costs                                                                              (4)            $0.00

 5          Bankruptcy/Proof of claim fees                                                                          (5)            $0.00

 6          Appraisal/Broker's Price opinion fees                                                                   (6)            $0.00

 7          Property inspection fees                                                                                (7)            $0.00

 8          Tax Advances (non-escrow)                                                                               (8)            $0.00

 9          Insurance advances (non-escrow)                                                                         (9)            $0.00

 10         Property preservation expenses                                                                          (10)           $0.00

 11         Other. Specify: Proof of Claim 410A                                                       3/28/2019     (11)         $250.00

 12         Other. Specify: Plan Review                                                                3/30/2019    (12)         $300.00

 13         Other. Specify:                                                                                         (13)           $0.00

 14         Other. Specify:                                                                                         (14)           $0.00




 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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Debtor 1 Limane Houanche                                                Case number (if known) 1-19-41508-ess
           Print Name          Middle Name      Last Name




 Part 2:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.

      □ I am the creditor
      ■ I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.

                         ______/s/ Erin Elam____________________________________________                 Date    ___5/21/2019_________________
                        Signature




  Print                 ____________Erin Elam ______________________________________                     Title   Bankruptcy Attorney
                        First Name                      Middle Name     Last Name


  Company               RAS Crane, LLC


  Address               10700 Abbott's Bridge Road, Suite 170
                        Number               Street


                        Duluth, GA 30097
                        City                                                 State        ZIP Code

  Contact Phone         470-321-7112                                                                     Email _eelam@rascrane.com______________________




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                                            CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that on ____________________________________________________________,
                                           August 2, 2019

I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
VIVEK SURI
20 VESEY STREET
SUITE 300
NEW YORK, NY 10007

LIMANE HOUANCHE
218-19 131ST AVENUE
SPRINGFIELD GARDENS, NY 11413

MARIANNE DEROSA
OFFICE OF THE CHAPTER 13 TRUSTEE
100 JERICHO QUADRANGLE
SUITE 127
JERICHO, NY 11753

OFFICE OF THE UNITED STATES TRUSTEE
EASTERN DISTRICT OF NY (BROOKLYN OFFICE)
U.S. FEDERAL OFFICE BUILDING
201 VARICK STREET, SUITE 1006
NEW YORK, NY 10014

                                                                           RAS Crane, LLC
                                                                           Authorized Agent for Secured Creditor
                                                                           10700 Abbott's Bridge Road, Suite 170
                                                                           Duluth, GA 30097
                                                                           Telephone: 470-321-7112
                                                                           Facsimile: 404-393-1425

                                                                           By: _________________________
                                                                                /s/ Alexis Van Zilen
                                                                                 Alexis Van Zilen
                                                                                 avzilen@rascrane.com




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